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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRiCT OF NEW JERSEY


                                                         Civil Action No.: 18-82 12 (JLL)
 SALLY DELOREAN, as Aciministratrix for
 the Estate ofJohn Z. DeLorean,                                      OPINION

                    Plaintiff,

 V.


 DELOREAN MOTOR COMPANY (TEXAS),

                    Defendant.


LINARES, Chief District Judge.

       This matter comes before the Court by way of Defendant DeLorean Motor Company

(Texas)’s Motion to Dismiss the Complaint and to Enforce the Settlement Agreement entered into

by the parties in a previous action, pursuant to Federal Rule of Civil Procedure 12(b)(6). and for

Attorney’s Fees. (ECF No. 4). Plaintiff Sally DeLorean, as Administratrix for the Estate of John

Z. DeLorean, filed opposition as well as a Cross-Motion for Summary Judgment, pursuant to

Federal Rule of Civil Procedure 56, (ECF No. 8), which Defendant replied to, (ECF Nos. 12—13).

The Court decides these motions without oral argument pursuant to Federal Rule of Civil

Procedure 78. For the following reasons, the Court grants Defendant’s Motion in part, enforces

the settlement agreement, and dismisses Plaintiffs Complaint. Because the Court dismisses the

Complaint, it need not analyze Plaintiffs Cross-Motion for Summary Judgment and denies same

as moot.
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                                       I.           BACKGROUND

         Plaintiff is Administratrix for the Estate of the late John Z. DeLorean, who created the

DMC 12 (also known as “the DeLorean automobile”), a unique sports car which was featured in

the “Back to the Future” film series. (ECF No. 1 (“Compl.”)            ¶ 3,   8). In 2014, Plaintiff brought

a separate action before this Court against Defendant (“the 2014 Action”), alleging that Defendant

“improperly and illegally appropriated for its own use Mr. DeLorean’s legacy, including the

DeLorean Identity, together with intellectual property such as the DMC Marks and DMC 12 Trade

Dress, all of which belong[ed] to [PlaintiffJ.      “       (Docket No. 14-1 146, ECf No. I   ¶   5; see also

Compl.   ¶ 10 (referencing the 2014 Action)).    The “DMC Marks” referred to four trademarks used

by Mr. DeLorean before his death, specifically “the company name ‘DeLorean Motor Company,’

the ‘DMC’ brand and associated logo, ‘DMC 12,’ (the official name of the car produced by [Mr.

DeLorean]) and ‘The DeLorean’ (the common name used for DMC 12).” (Docket No. 14-1146,

ECF No. 1    ¶   1). The term “DMC 12 Trade Dress” referred to “the distinctive, non-functional

design and image of the unique DMC 12 sports car” created by Mr. DeLorean. (Id.).

         In the 2014 Action, Plaintiff alleged that Defendant unlawfully produced “replica DMC

12s,” and designed and sold “various items under DMC Marks and DMC 12 Trade Dress,”

including hats, pens, notebooks, luggage, and keychains containing “the DeLorean name and/or

reflecting DMC 12 Trade Dress.” (Id.        ¶J 4,   25, 37). According to Plaintiff, Defendant “even

purport[ed] to license the use of the DMC Marks and DMC 12 Trade Dress to third parties.” (Id.

¶ 4).   On September 1$, 2015, the parties entered into a settlement agreement (“the Settlement

Agreement”), which closed the 2014 Action. (Compl. ¶j4. 10; see also ECF No. 1-1 (“Settlement

Agreement”)).




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           The Settlement Agreement stated in relevant part that Defendant agreed to pay Plaintiff “in

full satisfaction of any and all claims against it in the [2014 Action]” in exchange for Plaintiff

releasing and discharging any and all claims “that were sought, or could have been sought, in the

[2014 Action].” except for “the obligations of [Defendant] set forth herein.”                    (Settlement

Agreement         ¶   1, 3(a)). The Settlement Agreement further stated,

                      [Plaintiff] acknowledges [Defendant’s] trademark and rights to use
                      the DeLorean automobile brand, and associated products and
                      services, fttrther, [Plaintiff] covenants and agrees that it will not
                                                                                     .   .   .




                      willingly participate in any legal proceeding against [Defendant] in
                      the future in connection with (i) the use by [Defendant] of (a) the
                      name “DeLorean Motor Company”, or (b) the trademark registered
                      to [Defendant] of the DMC logo, or (ii) the use by [Defendant] of
                      the trademark registered to [Defendant] of the stylized word
                      “delorean[”] (“DeLorean Marks”) (“any of which are used in
                      conjunction with the automobile industry and associated business
                      ventures, including those associated with the DeLo rean automobile,
                      or other automotive products and services, and related brand
                      merchandising and licensing associated or related to the business of
                      the DeLorean Motor Company, [Defendant] and its associated brand


                                [Plaintiff] retains all right in (i) any other use of the name
                      DeLorean, (ii) any aspect of the personal life of John Z. DeLorean,
                      or (iii) any depiction of the likeness of John Z. DeLorean that is not
                      public property or purchased from those legitimately holding
                      publishing rights thereto.

                             [Plaintiff], individually and as Administratrix of the Estate
                      of John DeLorean, hereby acknowledges the worldwide rights of
                      [Defendant] to use, register, and enforce any of DeLorean Marks for
                      any and all goods and services, relating to automobile dealerships,
                      automobiles, automobile parts and accessories, clothing, and
                      promotional items.

(Id.   ¶ 3(b)).
          The Settlement Agreement also specified that it would be governed by New Jersey state

law. and that New Jersey federal and state courts shall retain the exclusive jurisdiction for any

future   actions arising     out of the agreement. (Id.   J 6(e);   Compl.   ¶ 4).

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            Throttgh the course of discovery in the 2014 Action, Plaintiff purportedly became aware

of an agreement that Mr. DeLorean entered into with Universal Pictcires (“Universal”) in March

1989 (“the Universal Agreement”). (Compi.            J]   8—9; see also ECf No. 8-2   ¶ 2—3,   5). Pursuant

to the Universal Agreement, Mr. DeLorean granted Universal “certain rights in and to the name

and appearance of the DeLorean automobile in order to enable [Universal] to engage in certain

merchandising and commercial tie-up activities in connection with the t’Back to the Future’

films].” (ECF No. 1-2 (“Universal Agreement”) at p. 1). Specifically, the Universal Agreement

contained the following terms:

                    1. Subject Matter: The subject matter of this agreement (hereinafter
                       referred to as the “Material”) is as follows:
                       (a) The appearance of the DeLorean automobile, including, but
                           not limited to, that appearance as depicted in that certain
                           United States Patent number Des. 283,882, dated May 20,
                            1986, a copy of which is attached hereto as Schedule “I”;
                       (b) The name “DeLorean”; and
                       (c) The logo “DMC” as it appears on the radiator grille of the
                           DeLorean automobile.
                    2. Rights Granted: [Mr. DeLorean] hereby grants to [Universal],
                       the exclusive right, forever and throughout the universe, to use
                       the Material in connection with “time machines” in any and all
                       merchandising and commercial tie-ups as [Universal] may
                       decide, including, but not limited to, the right to manufacture
                       and sell or otherwise dispose of any articles of merchandising
                       (such as toys, games, gadgets, novelties, books, apparel, food
                       and beverages) or services using or based upon the Material.
                       [Universal] shall have the right to change, adapt, rearrange, add
                       to and subtract from the Material in the preparation of any article
                       of merchandising or commercial tie-up using or based upon the
                       Material.

(Id.   ¶J   1—2).

            In exchange for these rights, Universal was to pay Mr. DeLorean five percent of

Universal’s “net receipts           orn merchandising and commercial tie-ups in connection with the

[‘Back to the Future’ films].” (Id.    ¶ 3).   Mr. DeLorean represented and warranted in the Universal

Agreement that he was “the sole owner of the rights in the Material granted or agreed to be granted

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to [Universal] hereunder.” (Id.     ¶ 4).        The Universal Agreement also stated that it “shall bind and

inure to the benefit of [Mr. DeLorean’s] and [Universal’s] respective heirs, legal representatives,

successors and assigns.” (Id.      ¶   9). Afier entering into the Universal Agreement, according to

Plaintiff, “Universal made some payments tinder the agreement, but stopped making the payments

at a time that is unknown to [Plaintiffi.” (Compl.            ¶ 9).
         Tn February 2018, Plaintiff contacted Universal for an accounting of the amount Plaintiff

was allegedly owed under the Universal Agreement. (Compl.               ¶ 12).   Universal allegedly informed

Plaintiff that Defendant had previously claimed it possessed the rights to the Universal Agreement

ptirsuant to the Settlement Agreement, and, based on that representation, Universal paid Defendant

all royalty payments owed under the Universal Agreement. (Id.).’ Defendant subsequently wrote

a letter to Plaintiff, in which it claimed it would “bring an action against [Plaintiffi for tortious

interference unless [Plaintiffi immediately retracted its request to Universal for payment under the

Universal Agreement.” (Compl.          ¶    13). Plaintiff accordingly brought the present action against

Defendant, asserting causes of action for declaratory judgment and unjust enrichment. (Compl.

¶]   14—20). In the Complaint, Plaintiff seeks a declaratory judgment that the Settlement Agreement

does not give Defendant any rights under the Universal Agreement, and that Plaintiff is the rightful

owner of all rights stemming from the Universal Agreement. (Compl. at p. 6). Plaintiff also

requests that the Court direct Defendant to account for, and pay over, the royalty payments it

received from Universal under the Universal Agreement. (Id.).

                                           II.       LEGAL STANDARD

         To withstand a motion to dismiss for failure to state a claim, a “complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”


 Plaintiff later claimed that the amount Universal paid to Defendant “was well in excess of$100,000.” (ECF No. 8-
  2J9).

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Ashcrofl v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell At!. Coip. v. Twombly, 550 U.S. 544,

570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. (citing Twombly. 550 U.S. at 556). “The plausibility standard is not akin to a ‘probability

requirement.’ but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Id. (quoting Ti’omblv, 550 U.S. at 556).

        To determine the sufficiency of a complaint under Twonzb!v and Iqbal in the Third Circuit,

the Court must take three steps. “First, it must tak[e] note of the elements [the] plaintiff must plead

to state a claim.   Second, it should identify allegations that, because they are no more than

conclusions, are not entitled to the assumption of truth. Finally. [w]hen there are well-pleaded

factual allegations, [the] court should assume their veracity and then determine whether they

plausibly give rise to an entitlement to relief.” Connelly v. Lane Conste. Coip., 809 F.3d 780, 787

(3d Cir. 2016) (quotations and citations omitted). “In deciding a Rule 12(b)(6) motion, a court

must consider only the complaint, exhibits attached to the complaint, matters of public record, as

well as undisputedly authentic documents if the complainant’s claims are based upon these

documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010).

                                           III.   ANALYSIS

A. Failure to State a Claim and Enforce the Settlement Agreement

       The main issue before this CocLrt is whether the materials licensed in the Universal

Agreement were included in the Settlement Agreement, thereby barring Plaintiff from asserting a

claim under the Universal Agreement as a matter of law. “A settlement agreement between parties

to a lawsuit is a contract,” Nolan by iVolan v. Lee Ho, 120 N.J. 465, 472 (1 990) (citations omitted),

the interpretation of which is a question of law, Travelers Prop. Cas. Co. of Am. v. USA Container



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Co., 686 F. App’x 105, 111 (3d Cir. 2017) (citing Selective Ins. Co. of Am. v. Hudson E. Pain

Mgmt. Osteopathic Med., 210 N.J. 597, 605 (2012)). “Under New Jersey law, courts should

enforce contracts as the parties intended, which is assessed by examining the plain language of the

contract, the surrounding circumstances, and the purpose of the contract.”         MacDonald v.

CashCall, Inc., 883 F.3d 220, 228—29 (3d Cir. 2018) (citations and quotations omitted). Upon

analyzing the subject matter of both agreements, and the context in which the agreements apply,

the Court finds that Plaintiffs claims under the Universal Agreement are within the scope of those

claims barred by the Settlement Agreement.

    1. Subject Matter of the Agreements

       Though the terms “Universal Agreement” or “royalty payments” are not mentioned in the

Settlement Agreement, the Court nonetheless finds that the subject matter of the Universal

Agreement is covered by the Settlement Agreement. The Court reaches this conclusion based on

the overlap of the clear terms in both agreements.      In the Settlement Agreement, Plaintiffs

covenant not to sue Defendant pertained to the latter’s use of the following words and trademarks:

(i) “the name ‘DeLorean Motor Company,” (ii) “the DMC logo,” and (iii) “the stylized word

‘delorean.” (Settlement Agreement     ¶   3(b)). In the Universal Agreement, Universal was given

the right to use (i) “[t]he appearance of the DeLorean automobile,” (ii) “[t]he name ‘DeLorean,”

and (iii) “[t]he logo DMC’ as it appears on the radiator grille of the DeLorean automobile.”

(Universal Agreement   ¶   1 (emphasis added)). As shown by this language, the agreements share

the same or similar terms, such as the use of the word DeLorean and the DMC logo.

       Contrary to Plaintiffs argument, (ECF No. 8 at 10—11), the Court gives little weight to the

fact that the term “the appearance of the DeLorean automobile” appears in the Universal

Agreement but not in the Settlement Agreement, because the appearance of the DeLorean



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automobile was contemplated throughout the 2014 Action and the Settlement Agreement.

Specifically, the allegations in the 2014 Action pertained to Defendant “falsely hold[ing] itself out

as the owner of the right to build and distribute the DMC 12 and use the DMC Marks and DMC

12 Trade Dress.” (Docket No. 14-1 146, ECF No. I      ¶ 35   (emphasis added)). The Court is further

convinced that the Settlement Agreement contemplated the inclusion of the DeLorean

automobile’s appearance because examples of the DeLorean and DMC trademarks from the 2014

Action consistently appear on the image of the DeLorean automobile, (ECF No. 12 at 5—6). See

interState Net Bank v. NetB@nk, Inc., 34$ F. Supp. 2d 340, 34$ (D.N.J. 2004) (explaining that

“[a] trademark is a symbol of the goodwill associated with the product or business it represents

and has no significance independent of that goodwill.”) (citations omitted). As both agreements

apply to the use of the word “DeLorean” and the DMC logo, and relate to the DeLorean

automobile’s image, the Court concludes that the subject matter of the agreements overlap.

   2. Context of the Agreements

       Additionally, the Settlement Agreement and Universal Agreement both pertain to the use

of the abovementioned names and trademarks in a similar context, i.e., the manufacturing and

merchandizing of products displaying the DeLorean automobile’s image and brand. The Court

reaches this conclusion based on the clear overlapping language of the agreements. Under the

Universal Agreement, Universal was given “the right to manufacture and sell      .   .   .   any articles of

merchandising tech as toys, games, gadgets, novelties, books, apparel, food and beverages.)             .




using or based upon the Material.” (Universal Agreement ¶2 (emphasis added)). Similarly, under

the Settlement Agreement, Plaintiff (i) acknowledged Defendant’s “worldwide rights” to use the

abovernentioned names and trademarks “for any and all goods and services, relating to automobile

dealerships. automobiles, automobile parts and accessories, clothing, and promotional items,” and



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(ii) covenanted not to sue Defendant for its use of said names and trademarks “in conjunction with

the automobile industry and associated business ventures, including those associated with the

DeLorean automobile, or other atttornotive products and services, and related brand

merchandising and licensing associated or related to the business of the DeLorean Motor

Company, [Defendant] and its associated brand.”                    (Settlement Agreement         ¶   3(5) (emphasis

added)).

          further evidence that both agreements pertained to the marketing and merchandizing of

the DeLorean automobile’s image and related names and trademarks is the fact that, in the 2014

Action, Defendant was allegedly selling items akin to those contemplated by the Marketing

Agreement, such as hats, pens, notebooks, luggage, and keychains containing “the DeLorean name

and/or reflecting DMC 12 Trade Dress.” (Docket No. 14-1 146, ECF No. 1                        ¶ 25).   Plaintiff also

alleged in the 2014 Action that Defendant was licensing to third parties the use of the name

DeLorean and the image of the DeLorean automobile. (Id.                 ¶ 27; see also   Settlement Agreement       ¶
3(a) (stating that Plaintiff releases Defendant froni “all claims, causes of action, demands, losses,

expenses,     .   .   .   or injuries that were sought, or could have been sottght, in the [2014 Action].”)

(emphasis added)). Considering both agreements pertained to the merchandizing of similar items

associated with the DeLorean automobile’s image, brand and related trademarks, as contemplated

by the 2014 Action and the clear language of the agreements, the Court concludes that Plaintiffs

claims under the Universal Agreement were incorporated in, and therefore barred by, the

Settlement Agreement. Accordingly, Plaintiff cannot state a claim for relief in connection with

the Universal Agreement as a matter of law, and the Complaint must be dismissed.2


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    Even if Plaintiff is correct that Defendant was not “assigned” the Universal Agreement and Plaintiff retained some
    rights in same, (ECF No. $ at 13 —15), the Court agrees with Defendant that Plaintiffs attempt to enforce the
    Universal Agreement would violate the Settlement Agreement, (ECF No. 12 at 9), because the subject matter of the
    Universal Agreement is covered and barred by the Settlement Agreement. Based on this conclusion, Mr.

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 B. Attorney’s Fees

         Defendant also moves for attorney’s fees. (ECF No. 4-6 at 11). However, Defendant failed

 to include “any affidavits or other documents complying with 28 U.S.C.                  § 1746,” as required by
 Local Civil Rule 54.2. (See general/v ECF No. 4). Therefore, the Court denies Defendant’s

 request for attorney’s fees without prejudice. Defendant may renew said request at a later time if

 appropriate and in compliance with the Local Civil Rules and Federal Rules of Civil Procedure.

                                              IV.      CONCLUSION

         For the aforementioned reasons, the part of Defendant’s Motion to Dismiss the Complaint

 and Enforce the Settlement Agreement is hereby granted. the part of Defendant’s Motion seeking

 Attorney’s Fees is hereby denied, Plaintiffs Cross-Motion for Summary Judgment is hereby

 denied as moot, and Plaintiffs Complaint is hereby dismissed. An appropriate Order follows this

 Opinion.



 Dated: October       It    ,   201$.




                                                          udge, United States District Court
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  DeLorean’s Estate is no longer the “the sole owner of the rights in the Material granted or agreed to be granted to
  [Universal] hereunder.” as Mr. DeLorean initially warranted in the Universal Agreement. (Universal Agreement ¶
  4).

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